                        Case 21-40477              Doc 12         Filed 04/15/21 Entered 04/15/21 13:04:42                             Desc Main
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 Fill in this information to identify your case:

  Debtor 1                   Joseph                William             Pezanowski
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                         Eastern District of Texas

  Case number                           21-40477                                                                                       ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                            Dates Debtor 2 lived
                                                              there                                                                           there


                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
     7035 Dickason Ave. Apt. 30                              From 3/2017                                                                    From
    Number      Street                                                                     Number     Street
                                                             To    11/2018                                                                  To

     Dallas, TX 75219
    City                               State ZIP Code                                      City                       State ZIP Code



                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
     4533 Cedar Springs Road Apt. F1                         From 11/2018                                                                   From
    Number      Street                                                                     Number     Street
                                                             To    8/2019                                                                   To

     Dallas, TX 75219
    City                               State ZIP Code                                      City                       State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

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Debtor 1            Joseph               William                  Pezanowski                                          Case number (if known) 21-40477
                    First Name           Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                          $7,540.61            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $28,202.00            bonuses, tips
    (January 1 to December 31, 2020         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $72,650.00            bonuses, tips
    (January 1 to December 31, 2019         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:                         IRA Distribution                            $2,000.00
    (January 1 to December 31, 2020         )
                                     YYYY




    For the calendar year before that:              IRA Distribution                         $127,000.00
    (January 1 to December 31, 2019         )
                                     YYYY




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                    First Name                   Middle Name              Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ❑No. Go to line 7.
               ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
               ❑
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                                  Dates of              Total amount paid        Amount you still owe          Was this payment for…
                                                                  payment

                                                                                                                                             ❑Mortgage
              JP Morgan Chase                                     02/24/2021                       $1,000.00                  $9,544.00
             Creditor's Name                                                                                                                 ❑Car
              Po Box 6294                                                                                                                    ✔ Credit card
                                                                                                                                             ❑
             Number      Street
                                                                                                                                             ❑Loan repayment
              Carol Stream, IL 60197-6294                                                                                                    ❑Suppliers or vendors
                                                                                                                                             ❑Other
             City                        State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                               Dates of               Total amount paid   Amount you still owe       Reason for this payment
                                                               payment



    Insider's Name


    Number      Street




    City                         State      ZIP Code




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                    First Name              Middle Name               Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                           Dates of               Total amount paid    Amount you still owe       Reason for this payment
                                                           payment                                                                Include creditor’s name



    Insider's Name


    Number       Street




    City                         State     ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                      Nature of the case                         Court or agency                                  Status of the case

    Case title                                                                                                                                   ❑Pending
                                                                                                Court Name                                       ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                Number       Street
    Case number

                                                                                                City                      State       ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                       Describe the property                                   Date                 Value of the property



    Creditor’s Name


    Number       Street                                               Explain what happened

                                                                      ❑Property was repossessed.
                                                                      ❑Property was foreclosed.
                                                                      ❑Property was garnished.
    City                           State    ZIP Code                  ❑Property was attached, seized, or levied.

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                    First Name             Middle Name             Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was   Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State     ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave     Value
     person                                                                                                            the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                           State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.




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                     First Name            Middle Name              Last Name

     Gifts or contributions to charities that      Describe what you contributed                                  Date you             Value
     total more than $600                                                                                         contributed



    Charity’s Name




    Number     Street



    City                      State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and          Describe any insurance coverage for the loss                    Date of your loss     Value of property lost
     how the loss occurred                       Include the amount that insurance has paid. List pending
                                                 insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                   Description and value of any property transferred              Date payment or      Amount of payment
     Graham Legal, PLLC                                                                                           transfer was made
    Person Who Was Paid                           Attorney’s Fee
                                                                                                                 4/1/2021                               $0.00
     8501 Wade Blvd Ste 340
    Number     Street




     Frisco, TX 75034-6265
    City                      State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




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                    First Name            Middle Name              Last Name

                                                Description and value of any property transferred                 Date payment or       Amount of payment
     Debtor CC, Inc.                                                                                              transfer was made
    Person Who Was Paid                         Credit Counseling
                                                                                                                 03/04/2021                            $19.95
    Number     Street




    City                     State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of any property transferred                 Date payment or       Amount of payment
                                                                                                                  transfer was made
    Person Who Was Paid



    Number     Street




    City                     State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Description and value of property         Describe any property or payments received     Date transfer was
                                                    transferred                               or debts paid in exchange                      made
     Unknown Buyers                             Debtor sold some of his furniture            Received: $2,000
    Person Who Received Transfer                Value: $2,000                                                                               08/2019


    Number     Street



    City                     State   ZIP Code


    Person's relationship to you
     No relation




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                    First Name           Middle Name              Last Name



  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                              Date transfer was
                                                                                                                                              made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Last 4 digits of account number          Type of account or      Date account was            Last balance
                                                                                            instrument              closed, sold, moved, or     before closing or
                                                                                                                    transferred                 transfer

    Name of Financial Institution
                                                   XXXX–                                    ❑Checking
                                                                                            ❑Savings
    Number      Street
                                                                                            ❑Money market
                                                                                            ❑Brokerage
                                                                                            ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Who else had access to it?                     Describe the contents                        Do you still have
                                                                                                                                                it?

                                                                                                                                              ❑No
    Name of Financial Institution                  Name
                                                                                                                                              ❑Yes

    Number      Street                             Number     Street



                                                   City                 State    ZIP Code

    City                   State    ZIP Code




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                    First Name              Middle Name              Last Name



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                       Who else has or had access to it?              Describe the contents                              Do you still have
                                                                                                                                                         it?

                                                                                                                                                       ✔ No
                                                                                                     Household goods, clothing, electronics
     Public Storage                                                                                                                                    ❑
                                                                                                                                                       ❑Yes
    Name of Storage Facility                          Name



    Number     Street                                 Number     Street



                                                      City                  State    ZIP Code
     Dallas,
    City                       State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                       Where is the property?                         Describe the property                              Value


    Owner's Name
                                                      Number     Street


    Number     Street

                                                      City                 State    ZIP Code


    City                   State       ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.



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                                                  Governmental unit                      Environmental law, if you know it                Date of notice


    Name of site                              Governmental unit



    Number       Street                       Number       Street


                                              City                  State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Governmental unit                      Environmental law, if you know it                Date of notice


    Name of site                              Governmental unit



    Number       Street                       Number       Street


                                              City                  State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Court or agency                        Nature of the case                               Status of the case


    Case title
                                              Court Name
                                                                                                                                         ❑Pending
                                                                                                                                         ❑On appeal
                                                                                                                                         ❑Concluded
                                              Number       Street


    Case number
                                              City                  State   ZIP Code




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                     First Name             Middle Name                Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑No. None of the above applies. Go to Part 12.
    ✔Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                       Describe the nature of the business                         Employer Identification number
     JW Consulting LLC                                                                                             Do not include Social Security number or ITIN.
    Name

                                                                                                                    EIN:          –

    Number        Street
                                                       Name of accountant or bookkeeper                            Dates business existed

                                                                                                                    From 07/01/2015      To Present

    City                     State    ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                       Date issued



    Name                                              MM / DD / YYYY



    Number        Street




    City                     State    ZIP Code




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                   First Name           Middle Name             Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘ /s/ Joseph William Pezanowski
       Signature of Joseph William Pezanowski, Debtor 1


       Date 04/08/2021




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
